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IN THE UNITED sTATEs DisTRlCT C0URT
FOR THE NoiRTHERN DlsTRICT 0F 0KLAH0MA F _'[ L E D

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l\/l,ARY ROMA JAGE, individually and as mother and
next friend of Vilia T. Jage, and l\/llCHAEL TP. JAGE,

MA,Y ii a 2006

Phil Lombardi', Cl
U.S. D|STH|€,T BBHET
Plaintiffs,

versus No.
TRUST COMPANY OP OKLAHOl\/[A; THOMAS W.
WILKINS, individually and as President, Chief Executive
()fficer, and Chairman of the Board ofTrust Company of
Oklahoma; RONALD J. SAFFA, individually and as a
shareholder in Morrel, West, Saffa, Craige & Hicks, lnc.;
M()RREL, WEST, SAFFA, CRAIGE & HICKS, INC.;
JAl\/IES C. MILTON, individually and as a partner in
Doerner, Saunders, Daniel & Anderson, L.L.P.;
DOERNER, SAUNDERS, DANIEh & AN[)ERS()N,
L.L.P.; JAMES E. POE, individually and as a partner in
Cc)vington & Poe; COVINGTON & PC)E; LEE l.
LEVlNSON; TERRY J. BARKER, individually and as

a partner in Pezold, Caruso, Barker & Woltz; PEZOLD,
CARUSO, BARKER & WOLTZ; WILLIAM C.
KELLOUGH, individually and as a partner in B00ne,
Srnith, Davis, Hurst & Dickman and a shareholder in
Boone, Srnith, Davis, Hurst & Dicl<;rnan, lnc.; BOONE,
SMITH, DAVIS, HURST & DICKMAN; BOONE,
SMITH, DAVIS, HURST & DICKMAN, INC.; BANK
ONE, N.A.; J.P. MORGAN CHASE & C().; JAl\/[ES E.
WEGER, individually and as a partner in Jones, Givens
Gotcher & Bogan and Jones, Gotcl'ier & Bogan; J()NES,
GIVENS, GOTCHER & BOGAN; JONES, GOTCHER
& BOGAN; PATRICIA WALLACE HASTINGS; and
JOHN DOES l-lO, Whose identities are not yet known;

SCV 24 9 TCK~ SA¢`

Defendants.

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§ OMlPLAINT

Mary Roma Jage, individually and as mother and next friend of Vilia T. Jage, and

Michael P. Jage, for their clairns for relief against defendants aver:

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SUBJECT MA'I`TER JURISDICTION

l. Plaintiffs Mary Roma J age and Michael P. Jage are citizens of the State of Illinois.
Mary Roma J age is the second of four children of Lorice T. Wallace and Frank A. Wallace,
deceased, and a beneficiary of trusts created by her parents during their lifetime [collectively
“the Wallace trusts”]. Michael P. Jage and Vilia T. Jage are children of Mary Roma Jage,
grandchildren of Lorice T. and Frank A. Wallace, and contingent beneficiaries of the Wallace
trusts. Michael is a beneficiary of a trust created by his grandmother; Vilia is a minor.

2. Defendant Trust Company of Oklahoma [“TCO”] is and Was, at all times relevant
to this action, a corporation organized under the laws of the State of Oklahoma having its
principal place of business in the State of Oklahoma.

3. Defendant Thomas W. Will<iris [“Wilkins”] is a citizen of the State of Oklahoma
and is and Was, at all times relevant to this action, the President, Chief Executive Officer
and/or Chairman of the Board of The Tiust Company of Oklahoma.

4. Defendant Ronald J. Saffa [“Saffa""] is a citizen of the State of Oklahoma and is
and Was, at all times relevant to this action, an attorney admitted to practice law in Oklahoma
and a shareholder in Morrel, West, Saffa, Craige & Hicks, lnc.

5. Defendant Morrel, West, Saffa, Craige & Hicks, lnc. [“Morrel, West”] is and was,
at all times relevant to this action, a corporation organized under the laws of the State of
Oklahoma having its principal place of business in the State of Oklahoma.

6. Defendant James C. l\/lilton [“Milton”] is a citizen of the State of Oklahoma and
is and Was, at all times relevant to this action, an attorney admitted to practice law in Okla-

homa and a partner in Doerner,l Saunders, Daniel & Anderson, L.L.P.

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7. Defendant Doerner, Saunders, Daniel & Anderson, L.L.P., [“Doerner Saunders”]
is and Was, at all times relevant to this action, a law firm doing business in Tulsa, Oklahoma,
as a general partnership Its members are citizens of the State of Oklahoma or States other
than Illinois.

8. Defendant James E. Poe ["‘Poe”] is a citizen of the State of Oklahoma and is and
Was, at all times relevant to this action, an attorney admitted to practice law in Oklahoma and
a partner in Covington & Poe.

9. Defendant Covington & Poe [“'Covington & Poe”] is and Was, at all times relevant
to this action, a law firm doing business in Tulsa, Oklahoma, as a general partnership Its
members are citizens of the State of Oklahoma or States other than Illinois.

10. Defendant Lee l. Levinson [“Levirison”] is a citizen of the State of Oklahoma and
is and Was, at all times relevant to this actionj\ an attorney admitted to practice law in Okla-
homa.

l l. Defendant Terry J. Barl<er [“Barl<er”] is a citizen of the State of Oklahoma and
is and Was, at all times relevant to this action, an attorney admitted to practice law in Okla-
homa and a partner in Pezold, Caruso, Barker & Woltz.

12. Defendant Pezold, Caruso, Barker & Woltz [“Pezold Caruso”] is and Was, at all
times relevant to this action, a law firm doing business in Tulsa, Oklahoma, as a general
partnership Its partners are citizens of the State of Oklahoma or citizens of States other than
Illinois.

13. Defendant William C. l<lellough [“Kellough”] is a citizen of the State of Okla-

homa and is and Was, at all times relevant to this action, an attorney admitted to practice law

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in Oklahoma, and is a former partner in Boone, Smith, Davis, Hurst & Dickman and a share-
holder in Boone, Smith, Davis, Hurst &Dickman, lnc.

14. Defendant Boone, Smith, Davis, Hurst & Dickman was a law firm doing business
in Tulsa, Oklahoma, as a general partnership until it was succeeded by Defendant Boone,
Smith, Davis, Hurst & Dickman, lnc. [collectively “Boone Smith”], a corporation organized
under the laws of the State of Ol<;lahoma having its principal place of business in Oklahoma,

15. Defendant Bank One, N.A. ["Bank One"’] is and was, at all times relevant to this
action, a corporation organized under the laws of a State other than Illinois having its
principal place of business in a State other than lllinois. Discovery is likely to establish that
Bank One merged with or was acquired by J.P. Morgan Chase & Co. [“Chase”] in 2005.

16. Defendant J ames E. Weger [“Weger”] is a citizen of the State of Oklahoma and
is and was, at all times relevant to this action, an attorney admitted to practice law in Okla-
homa, and is a former partner in Jones, Givens, Gotcher & Bogan, and a partner in Jones,
Gotcher & Bogan.

l7. Defendant Jones, Givens, Gotcher & Bogan was a law firm doing business in
Tulsa, Oklahoma, as a general partnership, until it was succeeded by Jones, Gotcher & Bogan
[collectively “Jones Gotcher”]. Jones Gotcher’s partners are citizens of the State of Okla-
homa or citizens of States other than lllinois.

18. Defendant Patricia Wallace Hastings ["‘Hastings”] is a citizen of the State of
Oklahoma and a daughter of Lorice T. and Frank A. Wallace.

19. Defendants John Doe l- lO, whose identities are not yet known, are citizens of the

State of Oklahoma or States other than lllinois.

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2(). The matter in controversy e);ceeds, exclusive of interest and costs, the sum of
seventy-five thousand dollars ($75,()()().()0).

OPERATIVE FACTS

21. Saffa is the nephew of Lorice T. Wallace and acted as her tax attorney at various
times relevant to this action.

22. The Frank A. Wallace Trust was created in 1974, by trustor Frank A. Wallace and
subsequently amended five times before Mr. Wallace died in 199(). A copy of the Frank A.
Wallace Trust, with annexed amendments, is attached hereto as “Exhibit l.” The Frank A.
Wallace Trust, as amended, became irrevocable upon the trustor’s death.

23. The Lorice T. Wallace Revocable Trust was created in 1974, by trustor Lorice T.
Wallace and named her as “trustee."’

24. Terms of the trust agreements established by Mrs. Wallace and her late husband,
Fi'ank A. Wallace, provided that upon his death and/or her resignation, First National Bank
(later known as Bank One, N.A. and now J.P. Morgan Chase & Co.) and the Wallace’s son,
Stephen P. Wallace, would become co-trustees.

25. ln 1993, following Mr. Wallace’s death, Saffa restated The Lorice T. Wallace
Revocable Trust [“LTW Revocable Tru st”] and inserted himself and TCO as successor co-
trustees. He advised Mrs. Wallace to sign the Restatement of Trust, with its provision
naming him as a successor co-trustee without advising her to seek the independent advice of
a second attorney. A copy of the Restatement of the LTW Revocable Trust is attached hereto
as “Exhibit Z-A.” Amendment Number ()ne to the restated LTW Revocable Trust was

drafted by Saffa and signed by Mrs. Wal lace on February 12, 1998. This amendment, a copy

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of which is attached hereto as “Exhibit 2-]3," added two new provisions to the 1993
restatement and amended one existing pi'ovision.

26. A year earlier, Mrs. Wallace signed the instrument creating The Lorice T. Wallace
lrrevocable Trust, aka The Lorice T. Wallace Life lnsurance Trust [“LTW Life lnsurance
Trust”]. This instrument, a copy of which is attached hereto as “Exhibit 3,” named TCO as
sole trustee.

27. Although an irrevocable trust had already been formalized, Saffa prepared a new
trust indenture creating the Lorice T. Wallace lrrevocable Trust [“LTW lrrevocable Trust”]
for Mrs. Wallace’s signature in 1996. This instrument, a copy of which is attached hereto
as “Exhibit 4,” inserted Saffa and TCO as co--trustees.

28. February 8, 1996, the same day Mrs. Wallace signed the instrument creating the
LTW lrrevocable Trust, she also signed another instrument Saffa prepared, while acting as
her tax advisor and attorney in relation to various family trusts, i.e., the Lorice T. Wallace
Family, Limited Partnership Agreement.

29. On May 19, 1998, Paul H. Mindeman, President of TCO, sent Mrs. Wallace a
letter, a copy of which is attached hereto as “Exhibit 5,” which identified conditions she
would have to approve in order for TCO i:o accept appointment as successor co-trustee of the
LTW Revocable and the LTW lrrevocable Trusts. What purport to be signatures of Lorice
T. Wallace and the date “6-2-98” appear at the bottom of the second page of Mr. Minde-
man’s letter. One of these conditions, like one provision in Amendment Number One to the
L'l`W Revocable Trust, contains terms which purport to immunize TCO and Saffa from liabi-

lity for breach of trust and, therefore, are unenforceable as against “public policy.”

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30. Saffa never advised beneficiaries of Mrs. Wallace’s revocable and irrevocable
trusts, including plaintiff Mary Roma Jage, of the changes made by various amendments to
those trusts.

31. lt was never Mrs. Wallace’s intent or desire to change the terms of any of her
trusts or create new trusts; she only did so in reliance on recommendations Saffa made while
acting in a fiduciary capacity and his misrepresentations concerning adverse tax conse-
quences if she did not follow his advice.

32. lt was never Mrs. Wallace’s intent or desire that Saffa be inserted as a successor
co-trustee of any of her trusts, Saffa wasl only able to succeed in this respect because of the
fiduciary position he occupied as Mrs. Wallace’s tax attorney, Mrs. Wallace’s reliance on her
nephew’s self-serving proposals and recommendations, and Saffa’s playing on the fact that
he was not simply a tax lawyer, but her iiephew.

33. lt was never Mrs. Wallace’s intent or desire that TCO be inserted as a successor
cci-trustee of any of her trusts. ln agreeing to this, Mrs. Wallace relied upon advice she was
given by Saffa, acting in his fiduciary capacity as her tax attorney, as well as her nephew.

34. Mrs. Wallace resigned as trustee of the LTW Revocable Trust under duress on
or about November 3, 1999, on the advice of Dr. Carol Hanson while being subjected to
pressure and undue influence by Saffa and Hastings, the third of the Wallaces’ children.

35. On December 9, 1999, Mrs. Wallace executed a Durable Power of Attorney, a
copy of which is attached hereto as “Exhibit 6." This instrument provided, among other
things, that “[i] f protective proceedings for Principal ’s person or estate are commenced at any

time after the date of this Power of Attorney, Principal hereby nominates Stephen P. Wallace

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to be the guardian or conservator, as the case may be, of the person and the estate of Principal
for the duration of such guardianship or c:onservatorship.” Copies of this Durable Power of
Attorney were mailed to TCO and Saffa.

36. On December 13, 1999, attorneys Poe and Levinson filed a Petition for Appoint-
ment of Guardian in In the Matler ofthe Guara'ianship of Lorice T. Wallace in the District
Court in and for Tulsa County, No. PG-99-556. Saffa acknowledged that he and TCO were
the driving force behind this special proceeding which asked the Court to appoint Hastings
as general guardian of her mother, Lorice T. Wallace, on grounds that Mrs. Wallace was
totally incapacitated. Although 30 Okla.Stat. § 3-102 provides that a nomination, such as that
contained in Mrs. Wallace’s Durable Power of Attorney, “shall be binding on any court
having jurisdiction of said guarclianship,"’ no mention was made of that “nomination” in the
Petition that attorneys Poe and Levinson filed in PJ-99-556 four days later.

37. After the guardianship proceeding was initiated, Mrs. Wallace, through her
attorneys, Terry Barker and the Pezold Caruso firm, wrote Saffa and TCO and instructed
them not to spend her money or trust money to pay for the attorneys who were purportedly
appearing for Hastings and seeking rulings and judgments that were adverse to Mrs.
Wallace’s interests.

38. On March 15, 2()()0, Saffa responded that he and TCO would spend Mrs.
Wallace’s money in any way they wanted, despite Mrs. Wallace’s wishes and directive

39. On March l3, 2000, District .ludge Robei't Perugino, the judge presiding over the
guardianship proceeding, stated from the bench that Mrs. Wallace “ha[d] not been determined to
be incapacitated” and “ha[d] the right to make [her] own decisions.” Later that day, Mrs. Wallace

exercised the power reserved in her as the grantor of the trust and executed an amendment altering

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the LTW Revocable Trust. The amendment removed Saffa and TCO as co-trustees of that trust and
replaced them with Stephen P. Wallace, Maiy Roma Wallace Jage, and Bank One as successor co-
trustees.

40. On March 23, 2000, a second Pezold Caruso lawyer who represented Mrs. Wallace in
PG-99-556, faxed copies of the lnstrument Altering Trust to Saffa and Wilkins, who was then
serving as President and ChiefExec:utive Ofticer of TCO. Letters Mrs. Wallace’s lawyers had faxed
the previous afternoon (a) notified Saffa and TCO‘ that they had been removed as co-trustees of the
LTW Revocable Trust and (b) asked them to name Stephen Wallace, Mary Roma Jage, and Bank
One as successor co-trustees of Mrs. Wallace’s irrevocable trusts, transfer trust assets to Bank One,
and then resign as trustees of the LTW irrevocable trusts,

41. On March 24, 2000, Poe signed and filed a pleading styled as "Petz`tion of the Trusr
Company of Oklahoma and RonaIa’J. Sajj‘a, Trustees, for instructions and construction of T rust, ” Case
No. PT-2000-21. ln that pleading, an excerpt of which is attached hereto as “Exhibit 7,” Poe and
Levinson represented that they were acting as “Attorneys for Trustees.” However, when Poe filed the
Petition, he knew that Saffa alone, not Saffa and TCO acting jointly, had authorized him to initiate
litigation to contest Saffa’s removal as a successor co-trustee of the LTW Revocable Trust. The
Petition Poe filed contains the false allegation that TCO and Saffa “are the duly designated and acting
trustees of the Lorice T. Wallace Revocable 'frust.” Documents attached to that pleading as “Exhibits
‘B’ through ‘F”’ show that Mrs. Wallace had amended the LTW Revocable Trust and removed TCO
and Saffa as co-trustees ofthat trust on March l3, 2000.

42. Saffa lacked standing under 60 Okla.Stat. § l 75.23 to file PT-2000-21 on March 24, 2000
because he was not “a trustee,” but a former trustee, of the LTW Revocable Trust on that date, having
been “removed” by the grantor’s amendment ofthe trust on March 13, 2000, and having been given

notice ofthat fact in writing on March 23, 2000.

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43. Mrs. Wallace challenged the former trustees’ standing to file PT-2000-21 in a motion to
dismiss which her attorney, Terry Barker, fi ed ori April 6, 2000.

44. ln his Response to Mrs. Wallace’s challenge to the former co-trustees’ standing to file PT-
2000-21, Saffa, again acting independently rather than “jointly” with TCO, argued that the lnstrument
Altering Trust was not “automatically and instantly effective as a modification of the Trust.”

45. Section 3 .04 of the 1993 Restatement of the LTW Revocable Trust is the first of three trust
provisions cited in Saffa’s Response to the standing challenge presented by Mrs. Wallace’s April 6,
2000 motion to dismiss. That section provides that “[a]fter the death of the Grantor, or in the event
Grantor becomes incapacitated, mentally or physically, RONALD J. SAFFA and THE TRUST
COMPANY OF OKLAHOMA shall seiye as [suc:cessor] Trustees.” Because Mrs. Wallace resigned
as trustee of the LTW Revocable Trust five months earlier, its terms were inapplicable

46. Section 9.07 of the 1993 Restatement ofthe LTW Revocable Trust is the second trust
provision cited in Saffa’s Response to Mrs. Wallace’s April 6, 2000 motion to dismiss. Section 9.07
“incapacity”; however, its terms only pertain to the incapacity of an individual “trustee,” not the
grantor. Mrs. Wallace was not serving as a “i;rustee” of the LTW Revocable Trust on March 13, 2000,
March 24, 2000, or April 24, 2000. She was simply the grantor ofthat trust.

47. Section 4.02 of Amendment Number One ofthe LTW Revocable Trust is the third trust
provision cited in Saffa’s Response to the standing challenge presented by Mrs. Wallace’s April 6,
2000 motion to dismiss. That section deiines “the incapacity of Grantor,” but only “[f]or the purposes"
of that particular provision, which pertains to Mrsi Wallace’s desire to remain in her home rather than
being placed in a care facility should the need arise.

48. None ofthe trust provisions cited in Saffa’s Response to Mrs. Wallace’s motion to dismiss
could have been construed in a way that would have authorized the judge presiding over PT-2000-21

to "`reinstate” Saffa and TCO as co-trustees of the LTW Revocable Trust.

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49. Even ifTCO and Saffa had acted jointly in filing the Petition in PT-2000-21 on March 24,
2000, they would have lacked standing to invoke the district court’s subject matter jurisdiction under
60 Okla.Stat. § 17 5.23, because they had been “removed” as co-trustees of the LTW Revocable Trust
on March 13, 2000, and provided with copies of the lnstrument Altering Trust on March 23, 2000.

50. The “standing” issue raised in Mrs. Wallace’s April 6, 2000 motion to dismiss was never
adj udicated; instead, the court declared that motion “moot” in an Order filed November 6, 2000.

51. The court acquired no subject matter jurisdiction over PT-2000-21 because Saffa lacked
standing to commence that action acting independently from, rather than "jointly” with, TCO.

52. Because the court’s subject matter jurisdiction had not been properly invoked, the .loumal
Entry of Final Judgment that was entered in PT-2000-2l in March 2002 is null and void.

53. Orders entered in PT-2002-56, a i ater-iiled action involving Mrs. Wallace’s trusts, are also
void because that case is a subsequent proceeding based upon the void judgment in PT-2000-21.

54. Saffa acted alone, rather than “jointly” with 'l`CO when he directed Poe to file the Petition
in PT-2000-21 on March 24, 2000. When Saffa, as the lawyer who drafted the Restatement of the
LTW Revocable Trust and a fomier successor co-trustee of that trust, took this action, he knew or
should have known that he was violating the following express provisions of Section 7.08 of the LTW
Revocable Trust on the pretext that the Cou:'t needed to construe other trust provisions:

Division of Duties Between Co-Trustees. While two or more Trustees are serving
hereunder, the powers, duties, and authorities of the Trustees shall be exercised by
them jointly. However, one or more of such Trustees may at any time by an instrument
in writing delegate to the other Trustees all or less than all of the powers conferred upon
that Trustee, either for a specified time or until the delegation is revoked by a similar
instrument

55. TCO did not authorize Poe and levinson to file the original Petition or other papers those
lawyers filed in PT-2000-2 l , purportedly on behalf of TCO, as well as Saffa. Milton, the only lawyer

to specifically identify himself as TCO’s attorney, never sought leave to be “substituted” for Poe and

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Levinson, the lawyers who represented to the court, Mrs. Wallace, and contingent beneficiaries of her
trusts that they were “Attorneys for Trustees” in papers filed on March 24, 2000 and April 24, 2000,

56. Saffa alone paid the attorneys fees for papers Poe and Levinson prepared and filed in PT-
2000-21 on March 24, 2000, and April 24, 2000.

57. Saffa’s act of filing the Petition in P'l`-2000-21 is a “nullity,” under Oklahoma law and
express terms of the restated LTW Revocable Trust which Saffa prepared, because TCO did not join
Saffa in authorizing Poe and Levins.on to file PT-2000-21. Acting alone, Saffa lacked standing to file
that trust action,

58. Knowing, from the outset, that Saffa’s filing PT-2000-21 was “a nullity, ” under express
terms of the trust instrument and Oklahoma law, TCO and Saffa engaged in conduct that amounts to
“dishonesty in office” by actively concealing relevant facts that were within their personal knowledge,
as well as the knowledge of their attorneys, but unknown to Mrs. Wallace, beneficiaries of her trusts,
including plaintiff Mary Roma Jage, and lawyers who represented them on and after March 24, 2000.

59. To procure her signature on the agreed Order on Petition for Appointment of Guardian in
PG-99-556, the guardianship proceeding, Saffa and Milton told plaintiff Mary Roma J age that she
would not be appointed limited guardian of the person of her mother, unless she signed a document
which stated that any and all documents that her mother, Lorice T. Wallace, had signed between
December 13, 1999 and May 9, 2000 that pertained to her trusts were “void.”

60. Mary Roma Jage’s signature on the Order on Petition for Appointment of Guardian which
filed in PG-99-556 on May 9, 2000, was obtained by Saffa and Milton, acting as TCO’s attorney, by
fraud and breach of ethical duties imposed by Rule 4.3 of the Oklahoma Rules of Professional
Conduct. Because she was unrepresented by counsel, plaintiff relied upon their representations

61 . ln addition to perpetrating a f`rauc`. on Mary Roma J age and her mother, Lorice T. Wallace,

Saf`fa and Poe, with Milton’s assistance, perpetrated a fraud on Judge Perugino when they secured his

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signature on the Order on Petition for Appoin tmen't oquardian in PG-99-556 without disclosing how
they had secured the signatures of Mary Roma Jage and Terry Barker, Mrs. Wallace’s attorney.

62. The Order Judge Perugino signed and entered in PG-99-556 on May 9, 2000, contains the
following terms which purport to render the lnstrument Altering Trust void and of no effect, without
identifying the lnstrument Altering Trust by name or disclosing the fact that it was executed on the
same day that Judge Perugino found that Mrs. Wallace “could make [her] own decisions”:

[A]ny and all documents executed by Ms. Wallace on or after December 13, 1999 (the

date of the filing of the Petition herein) purporting to or asserted as affecting any kind

of transfer, conveyance, sale ol" or lien upon any portion of Ms. Wallace’s assets, or

purported to or asserted as effecting any modification of Ms. Wallace’ s trust documents
be and the same are REVOKED., NULL and VOlD in their entirety.

63. The only purpose to be served by the above-quoted findings in the fraudulently-procured
Order that was filed in the guardianship proceeding on May 9, 2000, was to “restore” Saffa and TCO
to their prior status as co-trustees ofthe LTW Revocable and lrrevocable 'l`rusts.

64. The quoted finding encompasses the lnstrument Altering Trust, which Mrs. Wallace signed
on l\/Iarch 13, 2000, and letters Mrs. Wallace’s attorneys sent to TCO and Saffa on March 22, 2000 and
March 23, 2000, that informed them of their removal as co-trustees of the LTW Revocable Trust and
asked Saffa and TCO to resign as co-trustees of the LTW lrrevocable Trusts.

65. Saffa and TCO had no factual basis for challenging the validity of the lnstrument Altering
Trust, which Mrs. Wallalce executed on March 13, 2000, since no judicial determination had been
made on or before that date that Mrs. Wallace lacked the legal capacity to make business decisions for
herself or execute legal documents

66. An after-the-fact judicial determination that Mrs. Wallace lacked the mental capacity on
March 13, 2000, to remove and add co--trustees would have been “clearly erroneous” given Judge
Perugino’s findings in PG-99-556 on March l3, 2000, that Mrs. Wallace had not been adjudicated to

be incapacitated and could make her own dec isions, as well as contrary to controlling Oklahoma law.

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67. lnstead of litigating the issues of Mr. Wallace’s alleged “incapacity” in PG-99-556 and
their standing, as former co-trustees of the L'l`W Revocable Trust, to file the Petition in PT-2000-21,
Saffa and TCO accomplished both ends by procuring the Order in PG-99-556 by fraud.

68. The Order filed in PG-99-556 on May 9, 2000, contains a finding that purports to nullify
the lnstrument Altering Trust which Mrs. Wallace executed on March 13, 2000. This fraudulently-
procured finding was used to procure the Joumal Entry of Final Judgment in PT-2000-21 on March
25, 2002, which declared that Saffa and TCO were trustees of all of Mrs. Wallace’s trusts The Joumal
Entry of Final Judgment also declared, in terms quoted below, that five documents attached to the
Petition filed in PT-2000-21 are “null, void, and of no force or effect”:

The documents and letters attached to the Original Petition as Exhibits “B” through “F”

(identified at trial as Petition ers’ rloint Exhibits 98, 100, 101, 102. and 103) fall within

the language of paragraph 8 of the order entered on May 9, 2000, in ]n re Lorice T.

Wallace, Case No. PG-99-556, in the District Court of Tulsa County, State of Okla-
homa, and are therefore null~ void, and of no force or effect.

69. Litigation that ensued from Saffa and TCO’s refusal to honor the amended Trust instru-
ment, their refusal to turn trust assets over to Bank One, their initiating the guardianship proceedings
their filing PT-2000-21 against Mrsr Wallace.i and other conflict-of-interest breaches of trust led Mrs.
Wallace to file a six-count Verified Petition against TCO and Saffa in the Tulsa Count District Court
on April 5, 2000. This action was styled Lorice T. Wallace, Plainti]j‘, v. T he Trust Company of
Oklahoma, an Oklahoma corporation, and Ronala'.]. Saffa, an individual, No. C.l-2000-1684.

70. Mrs. Wallace, through her attorneys Barker and Pezold Caruso, also filed a writ proceeding
in the Oklahoma Supreme Court on April 17, 2000, that challenged Judge Perugino’s authority to take
further action in PG-99-556, because he had not adjudicated the issue of her alleged incapacity within
the 30 day period prescribed by statute.

71. On May 10, 2000, after urging the Oklahoma Supreme Court to issue a writ prohibiting

Judge Perugino from taking further action in the guardianship proceeding because he had exceeded his

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statutory authority, a Pezold Caruso attorney who purportedly was still representing Mrs. Wallace’s
best interests, moved for “voluntary dismissal” ofthat original action. By way of explanation, counsel
told the Oklahoma Supreme Court that “the action pending in the district court has been resolved by
agreement between Wallace and the Real Party in lnterest, and this agreement has been memorialized
by an agreed order entered by the district court on May 9, 2000.”

72. A letter Barker wrote Milton on May 4, 2000, makes it clear that it was TCO’s attorney,
not Hastings’ lawyer who drafted the Order Judge Perugino signed on May 9, 2000. Other statements
in Barker’s letter, e.g., his suggestion that Milton insert language in the agreed Order revoking all
previous Durable Powers of Attorney executed by Mrs. Wallace and authorizing TCO to pay Pezold
Caruso its legal fees for representing Mrs. Wallace in cases Saffa and TCO had filed against her,
together with subsequent communications to Milton about TCO’s paying those fees, Barker’s signing
a dismissal with prejudice ofthe six-count action that he had filed against TCO and Saffa on Mrs.
Wallace’s behalf, but without Judge Perugino’s express approval after he had signed the agreed order
in PG-99-556 making Mrs. Wallace the subject of a limited guardianship and voiding the lnstrument
Altering Trust. Absent the probate court’ s approval of any proposed settlement of claims that had been
asserted on Mrs. Wallace’s behalf, that dismissal is of no force or legal effect

73. TCO paid other lawyers, e.g., Kellough of Boone Smith, to perform legal services pur-
portedly on behalf of Mary Roma Jage, who was appointed limited guardian of the person of Lorice
T. Wallace by the May 9, 2000 agreed Order entered in PG-99-556, and her mother initially and later
for Mrs. J age alone. TCO continued this practice as long as the representation benefitted TCO. For
example, without Mrs. Jage’ s knowledge or consent, Kellough filed papers in three trust-related actions
which stated that she and Mrs. Wallace “stiputate[d] that Trust Company of Oklahoma and Ronald J.
Saffa as Co-Trustees may continue in their current incumbent positions and that no hearing is necessary

to presently adjudicate the sufficiency of their accounting or to grant them discharge herein.”

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74. ln March 2003, the res ofthe Frank Ar Wallace Revocable Trust, as well as the fiduciary

duties and obligations imposed on Bank One, N.A., as the corporate trustee, was transferred from the

Tulsa Branch of Bank One, N.A., to its Fort Worth, Texas, office.

75. On September 16, 2003, six months after the transfer and three months after Mrs. Wallace

died, Weger filed a Petition for Guidance and Construction of Trust in the Tulsa County District Court

in an action Styled In re.' Franklin [sic] A. Wallace Revocable T rust dated December 26, 1974 and as

amended and numbered PT-2003-4'6. Bank One’s Petition asked the court to grant the following relief

under Section 175.23 of Title 60 ofthe Oklahoma Statutes:

d.

assess the present standards of living and care for Lisa Frances Wallace[, the youngest
of the Wallace’s children who has Downs syndrome,] and provide guidance to Bank
One concerning the determination of the distribution of proceeds ofthe Franklin A.
Wallace Trust for the care and maintenance of Lisa Frances Wallace, even though said
distribution may reduce distributions to other beneficiaries;

determine how the proceeds from the Franklin [sic] A. Wallace Trust should be dis-
tributed and set aside for the benefit of Lisa Frances Wallace;

determine if the LISA Trust should be reformed and/or interpreted so that in the event
of funding the LISA Trust by the Franklin A. Wallace Trust, all federal and state
assistance and other related benefits for Lisa Frances Wallace will be maintained;

determine whether the current successor trustees of the LISA Trust [, Lisa’s three
siblings, Stephen P. Wallace, Mary Roma Wallace Jage, and Patricia Wallace
Hastings,] are conflicted from serving as such, and, if so, determine a new successor
trustee ofthe LISA Trust;

determine how, and to whoni, any remaining funds, if any, from the Franklin [sic] A.
Wallace Trust should be distributed; and

grant Bank One such other and further relief, both general and special, at law or in
equity, to which Bank One may show itself to be entitled.

76. TCO, which identified itself as the “rea‘,l party in interest” in papers it filed in PT-2003-46

months after that trust action was filed, stood to profit from the relief sought in Bank One’s petition.

Bank One, on the other hand, used the litigation as a means of relieving itself of`liability which it might

incur if it sought an Order allowing iit to “resign” as corporate trustee of the F rank A. Wallace Trust.

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Bank One, through its employees and/or its at torneys, including Weger, colluded with TCO and/or its
attorneys, including l\/[ilton, to accomplish both ends

77. 'I`CC controlled both sides of the litigation in PT-2003-46, but concealed that fact from the
court and beneficiaries of the Frank A. Wallace Trust, including plaintiffs until 2005.

78. Plaintiff Mary Roma J age had no notice that TCO was the so-called “disinterested
successor trustee” alluded to in Bank One’s l’etition until she received a copy of Plaintiff’s Opening
Brief, which was filed on March 15, 2004 and signed by a J ones Gotcher lawyer, This brief was the
first paper filed in PT-2003-46 that mentions TCC\ by name. Mrs Jage had no reason to suspect, in
March 2004, that each of the statements quoted below from the “Bank One” Brief was actually written
by Milton, TCO’s lawyer who did not enter his appearance in the case until after the hearing where the
court granted TCO and Bank One all of the relief both of these financial institutions sought:

a. Bank One proposes that The Trust Company ofOklahoma (“Trust Company”) be
named Trustee of the reformed Lisa 1`rust.

b. The Dad’s Tnist currently contains assets in the approximate amount of $2.61\/1. Bank
One relies on a long-term care plan provided by an expert to support this assertion

c. Counting . . . additional expenses [of a home and automobile] into option two (2), Lisa
would need $890,338. 43 for h er long-term care and maintenance without considering
future legal fees and costs.

As the Court is well aware, consideration of legal fees and costs in any long-
term care plan for Lisa is essential. Ongoing family conflicts over the past four (4)
years have resulted in legal fees and costs in excess of $1,300,000.00. While this
number does not represent Lisa’s direct, proportional share of the legal fees and costs,
she has been and will continue to be indirectly impacted by protracted litigation among
her family. As such, it is prudent to include an allocation for these costs in Lisa’s
long-term plan.

d. Bank One would advise the Court that the reformation ofthe Lisa Trust to a
discretionary support trust would be the preferable option. . . . Therefore, Bank One
suggests that one clear and complete document (the SNT [special needs trust]) would
be favored and superior to the Order.

e. The current Successor Co-Trustees ofthe Lisa 'I`rust are Lisa’s three (3)
siblings, Mary Roma Wallace Jage, Patricia Wallace Hastings, and Stephen P. Wallace

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(the “Siblings”). Obviously, as remainder beneficiaries of the Lisa 'l`rust, the Siblings,
as Successor Co-Trustees of the Lisa Trust, suffer an inherent conflict-of-interest which
should disqualify them from serving as Successor Co-Trustees. Therefore, the Court
should use its equitable power to remove the current Successor Co-Trustees and
substitute T rust Company as Successor Trustee of the Lisa Trust.

f. Bank One would suggest T rust Company act as Trustee of the reformed Lisa
Trust. Trust Company is well versed in the estates of Frank Wallace as well as
involved in legal matters involving their estates Currently, Trust Company is (1)
Successor Co-Trustee of the Lorice Wal lace Revocable Trust, (2) Successor Co-Trustee
of the Lorice Wallace lrrevocable Trust, (3) General Partner with Ron Saffa in The
Wallace Family Limited Partnership by virtue of its status as Successor Co-Trustee of
the Lorice Wallace lrrevocable Trust, and (4) sole Trustee of the Lorice Wallace Life
lnsurance Trust. T rust Company would obviously be an ideal choice as Trustee of the
reformed Lisa T rust based on this experience with the Wallaces’ estates

79. By colluding with TCO and securing an Order that “refoimed” the Frank A. Wallace Trust
which had become “irrevocable” upon Mr. Wallace’s death in 1990, and which named TCO as trustee
of the reformed Lisa Trust, Bank One breached its fiduciary duty to the principal and income bene-
ficiaries of that trust, including plaintiff l\/lary Roma Jage.

80. The highest ranking trust officer iii Bank One’s Fort Worth office was aware, on/or before
his teleconference with Lorice Wallace and two of her children in March 2003, that Mrs. Wallace did
not want TCO involved in any way in the management of her affairs lt was during that same tele-
conference that Bank One’s regional vice president in charge of trust matters authorized expenditure
of the necessary funds to perform a forensic audit of the Lorice T. Wallace trusts, the type of audit that
is done when fraud is suspected.

81 . This action affects title or interests in the following described real property located in Tulsa
County, Oklahoma because title to that property is purportedly held by Saffa, TCO, and/or Bank One
as trustees of one or more Wallace Trusts and/or the LTW Family, Limited Partnership:

a. Land located at the Southeast corner of 131St Street and Peoria, Jenks, Oklahoma,
and legally described as:

Government Lot 1 and the North Half of Government Lot 2 LESS the
West 50 feet thereof and the Southeast Quarter of the Northwest Quarter

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LESS the East half of` the Southeast Quarter of the Northwest Quarter,
Section 7, Township 17 North, Range 13 East in Tulsa County,
Oklahoma; together with all appurtenances and improvements located
thereon.

b. Land located at 6330 East 13 1St Street, Bixby, Oklahoma, and legally described
as:

Part of the Northeast Quarter commencing at a point 40 feet West and 25
feet South of the Northeast Corner of Section 10, thence South 1550.25
feet, East 50 feet, South 334.79 feet, Northwest 113.62 feet, Northwest
660.00 feet, Northwest 396.00 f`eet, Northwest 264.00 feet, Northwest
396.00 feet, due North to the North Sect.ion Line, thence East 545.64 feet,
East 294.36 feet, East 166 feet, South 500 feet, East 435 feet, North 475
feet, East 10 feet to the Point of Beginning, Section 10, Township 17
North, Range 13 East (approximately 44.81 acres).

c. Land located in Bixby, Oklahoma and described as:

A Tract of land located at the Southeast Comer of 131Sl and Sheridan;
bounded on the North by 1315[ Street; on the East by the Fry Creek
Drainage Channel, on the South by the Arkansas River, and to the West
by a line that would be Sheridan Avenue if Sheridan Avenue continued
directly South frorri that 13 lSt and Sheridan intersection (approximately
sixty-nine (69 +/- acres more or less).

d. Land located at the Northeast corner of 1313t Street and Peoria, Jenks, Okla-
homa, and legally described as:

The South Half of the Southwest Quarter; the West Half of the South-east
Quarter Less the East 570 feet of` the North 764 feet; the South 165 feet
of Government Lot 5; the South 165 feet of the Southeast Quarter of the
Northwest Quarter; the Northeast Quarter of the Southwest Quarter; and
all of the Government Lot 6; all in Section 6, Township 17 North, Range
13 East of the Indian Base and l\/leridian; an 81% interest in the property
being owned by the Lorice 'l`. Wallace Family, Limited Partnership, and
19% being owned by the Frank A. Wallace Revocable Trust UID
December 26, 1974 (approximately 255 acres).

e. Land located immediately west of the Sheridan Plaza Office Complex located at
4660 South Sheridan, and legally described as:

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Part of Lot 1, Begirining 567.7 feet West of the Northeast Corner of Lot
1, thence West 409.25 feet, South 58 feet, Southeasterly 160.66 feet, East
143 feet, South 130 feet, East 192.44 f`eet, and North 330.20 feet to the
Point of Beginning, Block 1, South Sheridan Plaza Resubdivision of
Richland Addition.

C()UNT I -- BREACH C|F FII)UCIARY DUTY
Mary Roma Jage, individually and as mother and next friend of Vilia T. Jage, and
Michael P. Jage, for their first claim for relief against defendants aver:

82. Paragraphs 1 through 181, inclu sive, of Plaintiffs’ Complaint are adopted and incor-
porated by reference.

83. TCO and Saffa, first as co-trustees and then as former co-trustees of the LTW
Revocable and lrrevocable Trusts owed a duty of undivided loyalty to Lorice T. Wallace and
plaintiffs Mary Roma J age and l\/[ichael P. Jage, initially as contingent beneficiaries and since
Mrs. Wallace’s death in 2003, as principal and income beneficiaries of those trusts

84. Saffa breached his fiduciary duty when he amended Mrs. Wallace’s trusts to insert
himself as a successor co-trustee without advising her to seek the independent opinion of a
second lawyer and when he included terms in Amendment Number One to LTW Revocable
Trust which purported to immunize TCO and himself from liability for breach of trust and,
therefore is against “public policy.”.

85. TCO and Saffa have repeatedly breached their fiduciary duties by engaging in
conduct that gave rise to multiple “conflicts of interest,” e.g., initiating litigation against Mrs.
Wallace in PG-99-5 56, and against Mrs. Wallace and beneficiaries of the LTW Revocable and
lrrevocable Trusts in PT-2000-21 and PT-2002-56; using trust assets for self-gain and to

advance their respective self-interests, as well as the interests of law firms whose services have

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been employed to carry out their “hostile takeover” of the LTW Revocable and lrrevocable
Trusts and the LTW Family, Limited Partnership

86. Saffa and TCO breached their respective fiduciary duties when Saffa knowingly
violated express provisions of the LTW Revocable Trust which required him, even as an
alleged “co-trustee,” to exercise his powers, duties, and authority “jointly” with TCO and when
TCO took no action to terminate PT-2000-21 at its inception. lnstead, TCO allowed that and
related litigation to go on unabated for over six years at a cost of well over 515 million in legal
fees that have been disbursed from trust assets

87. Bank One, as corporate trustee of the Frank A. Wallace Trust, owed a duty of
undivided loyalty to plaintiff Mary Roma Jage, as a beneficiary of that Trust.

88. Bank One breached its fiduciary duty when it recommended, or allowed TCO to
create the impression that it recommended, that the Frank A. Wallace Trust be “reformed” as
the Lisa Wallace Special Needs Trust and that TCO be named “trustee” of that trust.

89. Plaintiffs have been damaged as a direct result of TCO’s, Saffa’s, and Bank One’s
repeated breach of their respective fiduciary duties

90. Non-trustees, including defendants Wilkins, Poe, Milton, Levinson, Weger, and
Hastings, who knowingly and willfully participated in repeated breaches of trust and benefited
financially from such participation, are equally liable with TCO, Saffa, Bank One, and Chase.

WHEREFORE, plaintiffs pray forjudgrnent against Ronald J . Saffa, Trust Company of
Oklahoma, Thomas W. Wilkins, James E. Poe, James C. Milton, Lee l. Levinson, James E.
Weger, Patricia Hastings, and Bank ()ne and/or Chase, as follows:

(a) Plaintiffs pray judgment against defendants Ronald J. Saffa, Trust
Company of Oklahoma, Thomas R. Wilkins, J ames E. Poe, J ames C. Milton, Lee

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1. Levinson, James E. Weger, Patricia Hastings, and Bank One and/or J.P.
Morgan Chase & Co. compelling them to redress each breach of trust by the
payment of money or otherwise; compelling the trustees and/or former co-
trustees to account and then removing them as trustees; tracing trust property
wrongfully disposed of, including but not limited to legal fees paid from trust
assets, and imposing a constructive trust on that property until such property or
its proceeds are recovered; and voiding purchase and sale agreements pertaining
to real property described in paragraph 81, above;

(b) Plaintiffs pray judgment against those same defendants in an amount
in excess of $l0,000, as exemplary damages, plus interest thereon as permitted

by law; and

(c) Plaintiffs pray for the costs of this action and all further and appro-
priate relief, including an award of reasonable attorneys’ fees

COUNT II - FRAUD AND COLLUSION

Mary Roma Jage, individually and as mother and next friend of Vilia T. Jage, and
Michael P. Jage, for their second claim for relief against defendants aver:

91 . Paragraphs 1 through 90, inclusive, of Plaintiffs’ Complaint are adopted and incor-
porated by reference.

92. Trustees and former trustees who claim to serve in that capacity have a duty to
disclose relevant information to the cestui` que trust and trust beneficiaries that has not been
previously furnished to those individuals

93. Saffa, Wilkins, TCO, Milton, Poe, and Levinson concealed the fact from Lorice T.
Wallace and beneficiaries of the LTW Revocable Trust, the LTW lrrevocable Trust, and the
LTW Family, Limited Partnership that PT~2000-21 was a “nullity” from its inception because
the Petition in that case was filed by Saffa, acting independently, not by Saffa and TCO
“jointly.” Active concealment of that fact facilitated four years of litigation in PT-2002-56, a

case that is based on fraudulently--procured findings in the Judgment in PT-2000-21.

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94. Saffa and Milton made false representations of law and fact to plaintiff Mary Roma
Jage in connection with their securing her signature on the agreed Order in PG-99-556, by
telling her, when she was not represented by counsel, that she would not be appointed limited
guardian of her mother unless she signed a document that rendered “void” any instruments her
mother had executed between December l3, 1999, and May 9, 2000, that pertained to any of
her trusts

95. Barker and Kellough concealed information they had a duty to disclose to prevent
the perpetration of fraud, including but not limited to Barker’s failure to disclose information
contained in his May 4, 2000 letter to Milton to Mrs. Wallace and plaintiff Mary Roma Jage
and the fact that he was no longer representing the best interests of his client but was concerned
about the legal fees owed his firm, and Kellough’s failure to disclose actions he purportedly
took on behalf of Mrs. Wallace and plaintiff Mary Roma Jage without their knowledge or
consent, actions that were designed to benefit TCO, not Mrs. Wallage or Ms. Jage.

96. Bank One, acting by and through Weger, concealed the fact from plaintiffs Mary
Roma Jage and Michael P. J age that TCO, rather than Bank One, prepared Plaintiff s Opening
Brief in PT-2003-46 to create the false impression that the statement that “Trust Company
would obviously be an ideal choice as Trustee of the reformed Lisa Trust” constituted an
objectively-based assessment of "l`C()’s qualifications to serve in that capacity, not a statement
made by TCO to further its own financial and other interests

97. Plaintiff Mary Roma Jage relied on the misrepresentations made by Milton and

Saffa on May 9, 2000,

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98. Plaintiffs have been damaged by l\/.lilton’s and Saffa’s misrepresentations and by
TCO’s, Saffa’s, Barker’s, Kellough’s, Weger’s, and Bank One’s and/or Chase’s failure to
disclose information they and their attorneys had an affirmative duty to disclose in order to
prevent the perpetration of fraud.

WHEREFORE, plaintiffs pray for judgment against Ronald J . Saffa, Trust Company of
Oklahoma, Bank One, N.A. and/or J.P. Morgan Chase & Co., Thomas W. Wilkins, James E.
Poe, James C. l\/lilton, Lee 1. Levinson, and James E. Weger, as follows:

(a) Plaintiffs pray judgment against defendants Ronald J. Saffa, Trust

Company of Oklahoma, lBank One, N.A. and/or J.P. Morgan Chase & Co.,

Thomas R. Wilkins, J ames E. Poe, J ames C. Milton, Lee I. Levinson, and J ames

E. Weger in an amount in excess of 310,000 as damages for their fraud and
collusion;

(b) Plaintiffs pray j udgment against those same defendants in an amount
in excess of $10,000, as exemplary damages, plus interest thereon as permitted
by law; and

(c) Plaintiffs pray for the costs of this action and all further and appro-
priate relief, including an award of reasonable attorneys’ fees.

COUNT lII - NEGLIGENT SUPERVISION

l\/lary Roma Jage, individually and as mother and next friend of Vilia T. Jage, and
Michael P. Jage, for their first claim for relief against defendants Doerner, Saunders, Daniel
and Anderson, L.L.P.; Morrel, West, Saffa, Craige & Hicks, Inc.; Covington & Poe; Pezold,
Caruso, Barker & Woltz; Boone, Smith, Hurst & Dickman; Boone, Smith, Hurst & Dickman,
Inc.; Jones, Givens, Gotcher & Etogari; and Jones, Gotcher & Bogan, aver:

99. Paragraphs 1 through 98, inclusive, of Plaintiffs’ Complaint are adopted and incor-

porated by reference.

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100. ln all of the actions and matters averred herein, Milton was subject to the super-
vision and control of Doemer Saunders.

101. In all of the actions and matters averred herein, Saffa was subject to the super-
vision and control of Morrel, West, Saffa, Craige & Hicks, lnc.

102. In all of the actions and matters averred herein, Poe was subject to the supervision
and control of Covington & Poe.

103. In all of the actions and matters averred herein, Barker was subject to the super-
vision of Pezold Caruso, Barker & Woltz.

104. In all of the actions and matters averred herein, Kellough was subject to the super-
vision and control of Boone, Smith_y Hurst & Dickman and Boone, Smith, Hurst & Dickman,
lnc.

105. In all of the actions and matters averred herein, Weger was subject to the super-
vision and control of Jones, Givens, Gotcher & Bogan and Jones, Gotcher & Bogan..

106. The knowledge of facts of each attorney who is identified above relating to their
respective law firms, including their making material misrepresentations of law and/or
concealing information they had an affirmative duty to disclose, is imputed to their respective
law firms, as a matter of Oklahoma law.

107. Doemer, Saunders, Daniel & Anderson, L.L.P. was negligent in its supervision of
Milton.

108. Covington & Poe was negligent iri its supervision of Poe.

109. Morrel, West, Saffa, 'Craige & Hicks, lnc. was negligent in its supervision of Saffa,

1 10. Pezold, Caruso, Barker & Woltz was negligent in its supervision of Barker.

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111. Boone, Smith, Davis, Hurst & [)ickman and Boone, Smith, Davis, Hurst &
Dickman, lnc. were negligent in its supervision of Kellough.

l 12. Jones, Givens, Gotcher & Bogan and Jones, Gotcher and Bogan were negligent
in their supervision of Weger.

WHEREFORE, plaintiffs pray for judgment against Doemer, Saunders Daniel &
Anderson, L.L.P.; Covington and Poe; 1\/lorre], West, Saffa, Craige & Hicks, Inc.; Pezold,
Caruso, Barker & Woltz; Boone, Smith, Davis, Hurst & Dickman; Boone, Smith, Davis, Hurst
& Dickman, Inc.; Jones, Givens, Gotcher & Bogan; and Jones, Gotcher & Bogan, as follows:

(a) Plaintiffs pray judgment against Doerner, Saunders, Daniel &
Anderson, L.L.P.; Covington & Poe; Morrel, West, Saffa, Craige & Hicks, Inc.;
Pezold, Caruso, Barker & Woltz; Boone, Smith, Davis, Hurst & Dickman; ‘
Boone, Smith, Davis, Hurst & Dicl<;man,, lnc.; .Jones, Given, Gotcher & Bogan;
and Jones, Gotcher & Bogan and all partners of those firms, except the defendant
lawyers and those admitted as partners into existing partnerships after the
respective liabilities of those partnerships were incurred, jointly and severally,
in an amount in excess of 510,000, as actual damages for negligent supervision,
plus interest thereon as permitted by law;

(b) Plaintiffs pray judgment against the same defendant law firms and all
partners of those firms, except the defendant lawyers and those admitted as
partners into existing partnerships after the respective liabilities of those partner-
ships were incurred, jointly and sev erally, in an amount in excess of $10,000, as
exemplary damages, plus interest thereon as permitted by law.

(c) Plaintiffs pray for the costs of` this action, and all further and appro-
priate relief.

COUNT IV - A'I`TORNEY D’ECEIT AND COLLUSI()N

Mary Roma Jage, individually anc. as mother and next friend of Vilia T. Jage, and
Michael P. Jage, for their third claim for relief against defendants Ronald J. Saffa, James C.

1\/lilton, and James E. Poe, aver:

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113. Paragraphs 4, 6, 8, 9, 21, _'25, 27, 28, 30, 31, 32, 33, 34, 35, 36, 37, 38, 39, 40, 41,
42, 44, 45, 46, 47, 48, 49, 51, 54, 55, 56, 57, 58, 59, 60, 61, 63, 64, 65, 67, 68, 69, 72, 73, 76,
78, 81, 83, 84, 85, 90, 93, 94, 95, 96, and 98 ofPlaintiffs’ Complaint are adopted and incor-
porated by reference.

1 14. Milton, Poe, and Saffa engaged in a chronic, extreme pattern of legal delinquency
by engaging in the conduct described in the paragraphs incorporated by reference in the para-
graph 113. By engaging in such conduct, with intent to deceive the District Court of Tulsa
County, Milton, Poe, and Saffa violated the Oklahoma Attorney Deceit Statute, 21 Okla.Sta.
§ 575, and are guilty of deceit and collusion.

1 15. Plaintiff have been injured by repeated violations of the Oklahoma Attorney Deceit
Statute that are alleged in this Complaint.

1 16. Milton, Poe, and Saffa are liable to plaintiffs for treble damages under 21 Okla.
Stat. § 575,

WHEREFORE, plaintiffs pray for judgment against J ames C. Milton, J ames E. Poe, and
Ronald J. Saffa as follows:

(a) Plaintiffs pray judgment against defendants James C. Milton, James

E. Poe, and Ronald J. Saffa in an amount in excess of $10,000 as treble damages

under 21 Okla.Stat. § 575, plus interest thereon as permitted by law.

(b) Plaintiffs pray for the costs of this action and all further and appro-
priate relief, including an award of reasonable attorneys’ fees

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.llURY TRIAL DEMAND

Plaintiffs Mary Roma J age and Michael P'. J age respectfully request that all issues herein

properly triable by jury be so tried.
Respectfully submitted

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